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IN THE UNITED STATES DISTRICT COURT HLEJEY
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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WILLIAM P. FAULKNER,
Plaintiff,
vs. No. 04-2974-D/An

GEORGE JoNEs,

Defendant.

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ORDER TRANSFERRING CASE PURSUANT TO 28 U.S.C. § 1406(a)

 

Plaintiff William P. Eaulkner, Wisconsin Department of
Corrections prisoner number 24406?, an inmate at the Stanley
Correctional lnstitution in Stanley, Wisconsin, filed a p;Q_ §§
complaint pursuant to 42 U.S.C. § 1983 in the United States District
Court for the Western District of Wisconsin on June 24, 2004 in
connection with his previous confinement at the Whiteville
Correctional Facility (“WCF”) in Whiteville, Tennessee. Plaintiff
paid the civil filing fee. After screening the complaint pursuant to
28 U.S.C. § 1915A, District Judge Barbara B. Crahb issued an order
on July 26, 2004 authorizing service on George Jones, a unit manager
at the WCF, and dismissing the complaint with respect to all other
defendants.

On October l2, 2004, Jones, through counsel, filed.a motion
seeking dismissal of the complaint on the grounds, inter alia, of
lack of personal jurisdiction and improper venue. Plaintiff filed his

response to the motion on October Zl, 2004. Defendant filed a reply

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on November 27, 2004. Judge Crahb issued an order on Novemher 22,
2004 transferring the action, pursuant to 28 U.S.C. § l404(a), to the
Eastern Division of this district. The action was docketed in the
Western Division of this district on November 28, 2004. On January
?, 2005, defendant Jones filed a motion, pursuant to Fed. R. Civ. P.
lZ(b)(3), seeking a change of venue to the Eastern Division, where
the WCF is located.l Plaintiff has not responded to this motion, and
the time for a response has expired.

For good cause shown, the defendant's motion to dismiss is
GRANTED. The Clerk is ORDERED, forthwith, to transfer this case to
the United States District Court for the Western District of
Tennessee, Eastern Division.

IT is so oRDERED this /A"" day of June, 2005.

WWMM

BERNICE B. TUBNALD
UNITED STATES DISTRICT JUDGE

 

1 The motion was also filed by the Corrections Corporation of America

even though the July 26, 2004 order dismissed the claims against that party.

2

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CV-02974 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

